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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA

 Optronic Technologies, Inc.                         Case No. 0:18-mc-91-NEB-KMM
 d/b/a Orion Telescopes & Binoculars

                      Plaintiff,
                                                              ORDER
   v.

 Ningbo Sunny Electronics Co., Ltd, et
 al.

                      Defendants.


        Pursuant to Local Rule 5.6, the parties filed a joint motion regarding continued
sealing for one document filed under temporary seal in connection with the plaintiff
Optronic Technologies, Inc. (“Orion”)’s Motion to Compel. (ECF Nos. 1, 7.) The
parties disagree regarding this document. Orion believes that docket entry 7 should
be unsealed, but the Defendants believe the document should remain sealed. (ECF
No. 15.) Having reviewed these documents, the Court concludes that the public
interest in the right of access does not outweigh the Defendant’s interest in the
confidentiality of this document. Accordingly, docket entry 7 should remain sealed.

        Orion filed docket entry 7 in support of its Motion to Compel. Contained
within the document are quotes from an email that the Defendants designated as
“Highly Confidential” pursuant to a protective order in the California action that this
Motion arises out of. The Motion to Compel was resolved without court action;
therefore, the merits of the motion were not reached in any way. Because the
contested document in this motion related to the Motion to Compel, it was not
considered by the Court.

        “There is a common-law right of access to judicial records.” IDT Corp. v. eBay,
709 F.3d 1220, 1222 (8th Cir. 2013) (citing Nixon v. Warner Commc’ns, Inc., 435 U.S.
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589, 597 (1978)). This right of access “is fundamental to ensuring the public’s
confidence and trust in the judiciary.” In re Bair Hugger Forced Air Warming Devices
Products Liability Litigation, MDL No. 15-2666 (JNE/FLN), 2018 WL 2135016 at *2
(D. Minn. May 9, 2018). Local Rule 5.6 guides this Court’s consideration of a motion
to keep judicial documents under seal. Local Rule 5.6 emphasizes the “presumption
that the public has a qualified right of access to material filed.” Id. at *1; L.R.D. Minn.
5.6 Advisory Committee’s notes (2017). However, the public’s right of access is not
absolute. Instead, competing interests—the party’s interest in confidentiality and the
public’s interest in access—must be weighed against each other. E.g., Webster Groves
Sch. Dist. v. Pulitzer Pub. Co., 898 F.2d 1371, 1376 (8th Cir. 1990).

       Here, the public’s interest in access to judicial documents that were not
considered by the Court is very weak. “In this circumstance, ‘the weight of the
presumption is low and amounts to little more than a prediction of public access
absent a countervailing reason.’” IDT Corp., 709 F.3d at 1224 (quoting United States v.
Amodeo, 71 F.3d 1044, 1050 (2d Cir. 1995)). In contrast, the currently sealed
documents contain confidential and competitively sensitive information, which gives
great weight to the Defendants’ interest in keeping the documents sealed. Therefore,
under the current circumstances, the Court concludes that the Defendants’ interests in
confidentiality outweigh the public’s general interest in access to judicial documents.

       Based on the Court’s review of the entire record in this proceeding, the Court
agrees that document 7 should remain under seal. Accordingly, the Clerk is directed
to keep the following document sealed: ECF No. 7.

Date: December 19, 2018
                                                         s/Katherine Menendez
                                                         Katherine Menendez
                                                         United States Magistrate Judge
